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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

STEVE BULLOCK, in his official
capacity as Governor of Montana;
MONTANA DEPARTMENT OF
NATURAL RESOURCES AND
CONSERVATION,
                              Plaintiffs,
                  vs.                                Case No. 20-cv-00062

BUREAU OF LAND                                       The Honorable Brian Morris,
MANAGEMENT; WILLIAM                                  Chief Judge
PENDLEY, in his official capacity as the
person exercising the authority of the
Director of the Bureau of Land
Management; UNITED STATES
DEPARTMENT OF THE
INTERIOR; DAVID BERNHARDT,
in his official capacity as Secretary of the
Department of the Interior,

                                 Defendants.

              PLAINTIFFS’ BRIEF IN SUPPORT OF
         EXPEDITED MOTION FOR SUMMARY JUDGMENT

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                               INTRODUCTION

      At the heart of our national charter is the principle that federal power must be

divided and balanced among three separate branches of government. As part of this

division, the Constitution’s Appointments Clause requires that the President

nominate, and that the Senate confirm, the heads of significant federal agencies—a

process that the Supreme Court has referred to as a “critical structural safeguard” of

our democracy. N.L.R.B. v. SW Gen., Inc., 137 S. Ct. 929, 935 (2017).

      This case challenges a flagrant breach of that safeguard. The Bureau of Land

Management wields broad federal power, overseeing the use and maintenance of

over 245 million acres of public lands, including more than 27 million acres in

Montana. Yet the Bureau has been run by unconfirmed acting directors for the

entire duration of the Trump presidency. The most recent one is William Perry

Pendley, who has unlawfully helmed the agency without Senate confirmation for the

past year via a long-running series of “temporary” orders.

      Pendley’s service recently became even more overtly illegal. On June 30, 2020,

President Trump finally nominated Pendley to lead the agency, officially putting him

up for Senate consideration. But Pendley remained on as acting director even while

his nomination was pending—directly contravening the Federal Vacancies Reform

Act, which expressly bars acting officers from running agencies while their

nominations are before the Senate. 5 U.S.C. § 3345(b). Then, on August 15, the


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President withdrew Pendley’s nomination amid vociferous criticism of his long track

record advocating for the private sale of public lands. Despite choosing to withdraw

Pendley from consideration, the Administration has no plans to alter the status quo:

Pendley endures as the Bureau’s acting director, flouting the Constitution’s power-

balancing mandate.

      Even in the brief interval since Governor Bullock and the Montana

Department of Natural Resources filed this lawsuit on July 20, the illegal nature of

Pendley’s service and the ongoing harm it causes Montana have been unmistakable.

Pendley has acted to finalize two important plans that govern the present and future

use of federal land in Montana, in addition to having already undermined

conservation efforts by opening up oil, gas, and mineral extraction in sage-grouse

habitat. He has subverted state wildlife management objectives and risked a sage

grouse listing under the Endangered Species Act, which would profoundly impact

land use in Montana. Pendley’s tenure as acting director represents the culmination

of more than three years of ambiguity and creates dangerous uncertainty in an area

where predictability and long-term planning are crucial. The plaintiffs therefore ask

this Court to grant summary judgment, to declare unconstitutional Pendley’s

continued service as acting director of the Bureau, and to enjoin him from taking

any further action affecting Montana in that unlawful role.




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                           FACTUAL BACKGROUND

      The Constitution provides “the exclusive means” for appointing officers of the

United States. Lucia v. S.E.C., 138 S. Ct. 2044, 2051 (2018). Under Article II’s

Appointments Clause, officers must first be nominated by the President and then

confirmed “by and with the Advice and Consent of the Senate.” U.S. Const. Art. II,

§ 2, cl. 2. “The Senate’s advice and consent power is a critical ‘structural safeguard[]

of the constitutional scheme.’” SW Gen., 137 S. Ct. at 935 (quoting Edmond v. United

States, 520 U.S. 651, 659 (1997)).

A.    The Federal Vacancies Reform Act provides the only authority
      for acting officials to exercise the authority of a vacant office.

      Because the nomination and confirmation process required by the

Appointments Clause can take time, Congress has granted the President “limited

authority to appoint acting officials to temporarily perform the functions” of a vacant

office that is otherwise subject to Senate confirmation. SW Gen., Inc., 137 S. Ct.

at 935. That authority has been granted by several different statutes over time; it is

currently governed by the Federal Vacancies Reform Act (FVRA). Id.; see 5 U.S.C.

§§ 3341–49.

      The FVRA provides that, when an office that requires Senate confirmation

lies vacant, the President may appoint an acting officer from certain eligible

categories of government officials to perform the functions and duties of that office

on a temporary basis. 5 U.S.C. § 3345. That acting official may serve for no more

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than 210 days, unless a nomination has been submitted to the Senate, at which point

an eligible acting official’s tenure may be temporarily extended. Id. § 3346(a), (b).

Further, subject to only two exceptions not applicable here, the FVRA specifically

“prohibits certain persons from serving as acting officers if the President has

nominated them to fill the vacant office permanently.” SW Gen., 137 S. Ct. at 935;

see 5 U.S.C. § 3345(b).1

       The FVRA also specifies consequences for non-compliance. Any “action

taken by any person” not properly serving as an acting officer “in the performance

of any function or duty of a vacant office to which [the FVRA] appl[ies] shall have

no force or effect” and “may not be ratified.” Id. § 3348(d)(1)–(2). A “function or

duty” is defined as one “established by statute” or “by regulation” and “required by

statute” or “by such regulation to be performed by the applicable officer (and only

that officer).” Id. § 3348(a)(2)(A)–(B).




       1First, if the nominee for an office served as first assistant to that office for
more than 90 days before the vacancy at issue arose, the nominee may continue to
serve in an acting capacity for that office while their nomination is pending. Id.
Second, if the first-assistant position itself requires Senate confirmation and the
Senate has already confirmed the official as first assistant, the official may serve in
an acting capacity for the office in question. Id. Otherwise, a nominee may not serve
as an acting officer for the vacant office. Id.
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B.    The Bureau’s Director wields broad federal power and must be
      appointed by the President and confirmed by the Senate.

      The office of the Director of the Bureau of Land Management is one that must

be filled “by the President, by and with the advice and consent of the Senate.”

43 U.S.C. § 1731(a). As a result, the Appointments Clause and the FVRA govern the

appointment of nominees and acting officers who discharge the duties of the

Bureau’s Director. See 5 U.S.C. § 3345(a).

      This is at least in part because of the Bureau’s broad powers. The Bureau

oversees the use and maintenance of around one eighth of the country’s landmass

across the United States, most of which is heavily concentrated in western states. In

Montana—the fourth largest State in the nation—nearly one third of the land is

federally owned, making the Bureau one of the most important stewards of land in

the State.

      Among the Director’s authorities is the power to administer the Bureau’s

regulations regarding the exploration, development, and production of oil and gas,

coal, and other minerals under the Bureau’s leases. See 43 C.F.R. § 3160.0-2 (“The

[oil-and-gas] regulations in this part are administered under the direction of the

Director of the Bureau of Land Management.”); id. § 3590.0-2 (same for minerals).

      The Director also plays an indispensable role in approving long-term land-use

plans, which the Bureau refers to as “resource management plan[s].” Id. § 1601.0-

5(n). These plans are “the main tool that [the Bureau] employs to balance wilderness

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protection against other uses.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 59 (2004).

Resource management plans “describe[], for a particular area, allowable uses, goals

for future condition of the land, and specific next steps.” Id. By statute, “these plans

are to ‘use and observe the principles of multiple use and sustained yield’; ‘use a

systematic interdisciplinary approach’; ‘give priority to the designation and

protection of areas of critical environmental concern’; and ‘weigh long-term benefits

to the public against short-term benefits.’” Or. Natural Desert Ass’n v. Bureau of Land

Mgmt., 625 F.3d 1092, 1096 (9th Cir. 2010) (quoting 43 U.S.C. § 1712(c)).

      Because of their importance to future agency action, the approval of a

resource management plan is a multistep process requiring advance planning,

coordination with state and local governments, and public notice and comment. See

43 C.F.R. § 1610.2. In recognition of the special interests that the States have in the

use, management, and maintenance of public land within their borders, the statutory

and regulatory framework allows covered States to weigh in to ensure maximal

consistency with state prerogatives—be they “plans, policies or programs.” Id.

§ 1610.3–2(e); see 43 U.S.C. § 1712(c)(9) (requiring that the Bureau provide

“meaningful public involvement of State and local government officials . . . in the

development of land use programs, land use regulations, and land use decisions for

public lands”). The statutory regime recognizes that the States are also affected by




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the maintenance of federal land “for the purpose of planning and regulating the uses

of non-Federal lands in proximity of such public lands.” Id. § 1711(b).

      As part of the notice-and-comment process, interested members of the public

may submit protests to proposed plans. The Director has the sole authority (and

duty) to review and “render a decision on [each] protest.” 43 C.F.R. § 1610.5-2(a)(3).

“The decision shall be in writing and shall set forth the reasons for the decision.” Id.

“The decision of the Director shall be the final decision of the Department of the

Interior.” Id. § 1610.5-2(b). Only once each protest is resolved may a plan become

final. See Or. Natural Desert Ass’n, 625 F.3d at 1097 (“Once the Director of the BLM

has ruled on any protest, the decision is final and the plan may be adopted.”). The

Director also has final say over the process for reviewing recommendations from

state and local governments and ensuring consistency in “the national interest and

the State’s interest.” 43 C.F.R. § 1610.3-2(e).

C.    Pendley is installed as head of the Bureau, which has had no
      Senate-confirmed official in charge for over three years.

      Despite the importance of the position and the need for Senate confirmation,

there has been no Senate-confirmed Bureau Director for the entirety of President

Trump’s term in office. Around the time of the President’s inauguration on January

20, 2017, the last Senate-confirmed Director of the Bureau, Neil Kornze, vacated

the office. SUF ¶ 1. In the three and half years that followed, President Trump never

submitted a nomination to the Senate for a new Director. SUF ¶ 1.

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      Instead, the President chose a series of acting directors to run the agency—

none of whom were confirmed by the Senate to hold the position. SUF ¶ 1. The

choice to rely on acting directors is part of the President’s strategy calculated to avoid

the Senate confirmation process. As he once explained to reporters: “I have ‘acting’

[sic]. And my ‘actings’ are doing really great . . . . I sort of like ‘acting.’ It gives me

more flexibility.” John T. Bennett, Frustrated by ‘My Generals,’ Trump Turns to ‘My

Actings’, Roll Call (Jan. 14, 2019), https://perma.cc/6BCD-N83G.

      William Perry Pendley provides perhaps the most egregious example of this

practice. First appointed on July 29, 2019, he has remained in the acting director

role for more than a year through a series of purportedly “temporary” orders, and

affirmed by way of a succession order that he signed on May 22, 2020, designating

himself as the immediate successor to the non-existent Director of the Bureau. SUF

¶¶ 2–4, 6–8. Each of the roughly half dozen orders signed by Interior Secretary

David Bernhardt claims that its effect is only for a specified “temporary” duration,

merely “intended to ensure uninterrupted management and execution of the duties

of [the Director] during the Presidential transition pending Senate-confirmation of

[a] new non-career official[.]” SUF ¶¶ 2–4.

      But Pendley continues to serve, with no end in sight. And, in designating the

succession order for the Bureau’s Director, Pendley delegated to himself “the

authority to perform all duties and responsibilities of the Director . . . to perform


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essential functions and activities of the office.” SUF ¶ 8. The May 22, 2020

succession order in fact expanded beyond the prior orders, professing no time limit

and delegating to Pendley even more discretion in exercising the authority of the

Director. Taken together, these orders have empowered Pendley’s unlawful exercise

of the authority of the Director for more than a year—an authority that he continues

to exercise to this day.

D.     Pendley continued to exercise the authority of the Director even
       after President Trump submitted his nomination to the Senate.

       On June 30, 2020, President Trump submitted Pendley’s nomination to

become the Bureau’s Director to the Senate, where the nomination was all but

guaranteed to languish given Pendley’s extreme, unpopular views on public land.

Indeed, “Pendley has long opposed public lands and wildlife protections.” Jimmy

Tobias, He opposed public lands and wildlife protections. Trump gave him a top environment job,

The Guardian (May 20, 2020), https://perma.cc/C33T-HW86. In 2016, Pendley

wrote an article arguing “for the near-total abolition of federal public lands across

the nation.” And in 2017, he told a group of anti-conservation activists: “This is why

out west we say ‘shoot, shovel and shut up’ when it comes to the discovery of

endangered species on your property.” Id.

       Despite the FVRA expressly forbidding nominees from serving as acting

directors of offices to which they are nominated, see 5 U.S.C. § 3345(b), Pendley

continued to exercise the authority of the Director even after being nominated.

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Among the many examples of actions arising from Pendley’s unlawful conduct, in

late July 2020—just days after this complaint was filed—the Bureau finalized

Resource Management Plans for the Lewistown and Missoula Field Offices. SUF ¶

8. These plans cover nearly a million surface acres and nearly a million and a half

mineral estate acres within the State of Montana. The comprehensive nature of these

plans, and the vast land they cover, “provides an apt illustration of the immense

scope of projected activity that a land use plan can embrace.” Norton, 542 U.S. at 70.

      The finalized plans reversed course from draft plans that the Lewistown and

Missoula field offices submitted to the Bureau’s leadership in 2016, which had

proposed protection for significant fish and wildlife habitat, cultural resources, and

recreational uses. After the President took office, the Bureau delayed review of these

plans, acting on them for the first time in May 2019, when the Bureau returned with

draft plans that constituted a staggering departure from the earlier proposals that

field offices and local stakeholders had formulated together. 84 Fed. Reg. 22517-01

(May 17, 2019). The new plans eliminate protections for areas of critical

environmental concern and lands with unique wilderness characteristics, and “make

available 95 percent of federal public land in Montana to oil and gas development.”

Williams Decl. ¶ 9.

      Throughout the planning and approval process, Governor Bullock repeatedly

voiced concerns on behalf of the State of Montana. See SUF ¶ 13 (letter from


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Governor Bullock, dated August 15, 2019, conveying the State’s concerns that, “at

the very end of the planning process,” “the BLM’s Washington DC review”

“eliminate[d] conservation protections”); SUF ¶ 13 (letter from Governor Bullock,

dated April 13, 2020, again conveying the State’s concerns).

      These concerns were ignored or dismissed, as were the concerns of more than

200 individuals who participated in the notice-and-comment process. When the

Bureau announced completion of its process in letters dated “July, 2020,” it left no

doubt as to Pendley’s involvement. SUF ¶¶ 13–15. Specifically, the Bureau explained

that “[t]he BLM received 150 protest letters” for the Lewistown Plan and “72 protest

letters” for the Missoula Plan; that “the BLM Director reviewed all protest issues for the

proposed planning decisions”; that “[t]he Director concluded that the BLM Montana

State Director followed the applicable laws, regulations, and policies, and considered

all relevant resource information and public input”; and that “[t]he BLM Director

denied the protests, and that decision is the final decision of the US Department of the

Interior.” SUF ¶ 13 (emphasis added); see also 85 Fed. Reg. 47239 (Aug. 4, 2020) (“All

protests have been resolved and/or dismissed by the BLM Director.”). Pendley then

took to the op-ed pages in Montana to defend his and the Bureau’s actions in

approving these plans. SUF ¶ 17.

      Final notice of the approval of the plans was published in the Federal Register

on August 4, 2020. See 85 Fed. Reg. 47238 (Aug. 4, 2020); 85 Fed. Reg. 47239 (Aug.


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4, 2020); SUF ¶ 15. On the same day, in a news release describing an event including

Pendley and President Trump, the White House listed Pendley’s official title as

“Acting Director of Bureau of Land Management.” SUF ¶ 16.

      The Bureau has taken other significant actions under Pendley’s direction in

the last year as well, approving countless oil-and-gas leases on land that was

previously designated to receive special conservation protections. Cf. Mont. Wildlife

Fed’n v. Bernhardt, — F. Supp. 3d —, No. 18-69, 2020 WL 2615631 (D. Mont. May

22, 2020) (vacating certain guidance and lease sales as unlawful under previous

Bureau plans).

E.    After Governor Bullock sues Pendley, President Trump
      withdraws Pendley’s nomination as Director but retains him as
      the Bureau’s acting director.

      To protect the State of Montana from ongoing harm caused by Pendley’s

unlawful service as acting director, Governor Bullock and the Montana Department

of Natural Resources and Conservation filed this lawsuit on July 20, 2020. The State

is harmed by Pendley’s unlawful service because the Bureau manages a large amount

of public land in Montana, which has a substantial effect on the State. For example,

Pendley’s decisions as acting director of BLM continue to “increase[] the potential

for negative impacts to sage grouse and their habitats” and, without clear and

consistent commitments to other complementary regulatory tools, the species’

continued unlisted status is in jeopardy. Williams Decl. ¶ 11; see also Tubbs Decl.


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¶ 10. If sage grouse were listed as an endangered species, the State would be forced

to adopt costly measures to protect sage grouse from routine use and development

of state and private property. Williams Decl. ¶ 12. Because the U.S. Fish and Wildlife

Service determined in 2010 that sage-grouse habitat had been so fragmented and

unregulated that the sage grouse was “at risk of extinction in the foreseeable future,”

80 Fed. Reg. 59858, 59871, Montana worked with the federal government and other

states to develop plans and other regulatory mechanisms that would address known

threats to sage grouse habitat. See Compl. ¶¶ 37, 46. Since 2015, these plans have

successfully avoided the listing of sage grouse under the Endangered Species Act. Id.

Indeed, the Fish and Wildlife Service called the 2015 plan the most important of the

regulatory changes that made the agency change its determination that the sage

grouse remained at risk of extinction. Id. ¶ 46. But Pendley’s actions during his tenure

as acting director have jeopardized these gains, and increased the likelihood of costly

harms to the State.

      Just days ago, on August 15, 2020, the President withdrew Pendley’s

nomination. Steven Mufson, White House withdraws nomination of William Pendley to head

the Bureau of Land Management, Wash. Post (Aug. 15, 2020), https://perma.cc/V6K7-

YLDW. But nothing else has changed. In fact, according to press accounts, “White

House and Interior officials said that Pendley would continue to serve in his current,

lower-level deputy director position at the Interior Department, a job that effectively


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lets him continue to act as head of the BLM.” Id. In other words, Pendley continues

to exercise the authority of the Director even as it has become apparent that he is

unpalatable to the Senate and thus unconfirmable. Id. Montana is thus faced with

continuing damage resulting from a lack of “consistent commitment to preservation

and appropriate and consistent management.” Tubbs Decl. ¶ 10.

                                     ARGUMENT

       The plaintiffs seek summary judgment on one simple claim: They ask this

Court to hold that Pendley’s service as acting director of the Bureau of Land

Management violates the Constitution’s Appointments Clause and to enjoin that

ongoing unconstitutional conduct, as it directly and adversely affects the State of

Montana. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010); see also Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015).

I.     Pendley’s continued exercise of the Bureau Director’s authority
       violates the Constitution’s Appointments Clause.

       Pendley’s continued exercise of the Director’s authority is a straightforward

violation of the Appointments Clause of the United States Constitution. “Any

appointee exercising significant authority pursuant to the laws of the United States

is an ‘Officer of the United States,’ and must, therefore, be appointed in the manner

prescribed by [the Appointments Clause].” Freytag v. Comm’r of Internal Revenue, 501

U.S. 868, 881 (1991) (brackets and quotation marks omitted); see also Lucia v. S.E.C.,

138 S. Ct. 2044, 2051 (2018) (“The Appointments Clause prescribes the exclusive

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means of appointing ‘Officers.’”). This constitutional requirement is “more than a

matter of ‘etiquette or protocol’; it is among the significant structural safeguards of

the constitutional scheme.” Edmond v. United States, 520 U.S. 651, 659 (1997).

      The office of the Director of the Bureau is one that must be filled “by the

President, by and with the advice and consent of the Senate.” 43 U.S.C. § 1731(a).

Pendley’s official title, according to the Bureau itself, is Deputy Director of Policy

and Programs. The Bureau nonetheless holds him out to the public as “Exercising

Authority of the Director” in official communications and on the Bureau’s website.

Compl. ¶ 28. Interior Secretary Bernhardt has empowered him to exercise the

authority of the Director in repeated so-called temporary authorizations. SUF ¶ 2–

4, 6–8. Pendley himself has signed documents indicating that he exercises the Bureau

Director’s authority. SUF ¶ 2. He has directly and impliedly identified himself as the

acting director of the Bureau in several editorials and other public statements.

Compl. ¶ 29; SUF ¶ 5. In addition to describing Pendley as exercising the authority

of the director, the Bureau has repeatedly identified him as the acting director in its

official Twitter account. SUF ¶16. And the White House has recently and expressly

identified Pendley as the “Acting Director of the Bureau of Land Management” in

public documents, SUF ¶ 16, and has stated that Pendley will remain on in his

current role, which it describes as a “lower-level” position when it suits them, SUF ¶

19.


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      Given all this, Pendley is an unlawful acting director of the Bureau. And the

Administration means to keep him on in that role, without the Senate’s consent.

II.   The FVRA does not permit Pendley’s continued exercise of the
      Bureau Director’s authority, and interpreting it to do so here
      would give rise to serious constitutional problems.

      The FVRA does not permit Pendley to remain indefinitely as acting director

of the Bureau. Rather, the FVRA contemplates circumstances—on a genuinely

temporary basis—in which an acting official may “perform the functions and duties

of any office of an Executive agency” for which Senate confirmation is required. See

5 U.S.C. § 3347(a). None of the contemplated circumstances are present here.

      To begin, the President submitted Pendley’s nomination to the Senate more

than three years after the vacancy in the Bureau’s directorship arose. SUF ¶ 1. This

was years beyond the FVRA’s contemplated time period for an acting director to

permissibly exercise the authority of the Director without Senate confirmation—a

time period that lasts 210 days. 5 U.S.C. § 3346(a).

      Although the FVRA allows this period to be extended if there is a nomination

that is later “rejected by the Senate, withdrawn, or returned to the President by the

Senate,” id. § 3346(b)(1), that provision does not authorize Pendley’s service. By its

plain terms, “the person” who may “continue to serve as the acting officer for no

more than 210 days after the date of such rejection, withdrawal, or return,” id., must

be a person who was lawfully serving before the failed nomination, see id. §§ 3345(b)(1),


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3346(a). The President may not restart the clock on an unlawfully serving acting

director simply by sending their nomination to the Senate and then withdrawing it.

      It would be particularly inappropriate to interpret the statute to allow the

President to do so here. Not only does Pendley’s ongoing position as acting director

fail to comply with the FVRA, it also evades the clear design of the Constitution,

spurning separation-of-powers principles and defying the purpose underlying the

Appointments Clause. See Freytag, 501 U.S. at 878 (“Our separation-of-powers

jurisprudence generally focuses on the danger of one branch’s aggrandizing its power

at the expense of another branch. The Appointments Clause . . . guards against this

encroachment.”) (citation omitted). As explained, the Appointments Clause is a

limitation on presidential power that requires Senate participation in the process of

nominating powerful executive officers. Id. at 880; see id. (“The structural principles

embodied in the Appointments Clause do not speak only, or even primarily, of

Executive prerogatives simply because they are located in Article II.”).

      Although the Senate had not yet officially considered Pendley’s nomination

before his nomination was withdrawn, he faced strong opposition in the Senate and

in public opinion. SUF ¶ 12. The President’s decision to withdraw Pendley was

apparently motivated by the calamitous political ramifications of his nomination.

This is precisely the purpose of the Appointments Clause—that an unpalatable

political nomination will not survive confirmation. But that constitutional safeguard


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is not meaningful if the President can simply allow the nominee to remain in the role

even after withdrawing the nomination. And that is what is happening here:

Following Pendley’s withdrawal, the Administration has made clear that no change

is planned in the Bureau’s existing leadership. Pendley thus continues to exercise the

authority of the office without Senate confirmation, and each day that this reality

persists, the fact of his leadership violates one of the Constitution’s “critical structural

safeguard[s].” See SW Gen., 137 S. Ct. at 935 (quotation marks omitted).

       Any argument that the FVRA permits Pendley’s unlawful exercise of authority

would fail for two independent reasons. First, for the reasons discussed above, the

plain text of the FVRA unambiguously prohibits Pendley from holding this

extended, unconfirmed acting director position.

       Second, if there were any doubt about the FVRA’s inapplicability, it would be

necessary to read the FVRA as inapplicable to avoid a serious constitutional

problem. See Scalia & Garner, Reading Law 247–48 (2012) (explaining that the

constitutional-doubt canon “militates against not only those interpretations that

would render the statute unconstitutional but also those that would even raise serious

questions of constitutionality”). At the very least, Pendley’s continued service as

acting director presents a “substantial constitutional question” under the

Appointments Clause, so there must be “clear evidence that Congress actually

intended” this result. See Peretz v. United States, 501 U.S. 923, 930 (1991). Here, the


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evidence shows just the opposite: The FVRA strictly limits temporary appointments

to preserve the Senate’s prerogatives and Congress specifically designated the

Bureau Director as an office requiring nomination by the President subject to the

advice and consent of the Senate. 43 U.S.C. § 1731(a).

      No statutory stop-gap can cure this constitutional violation. Pendley’s acting

service is unlawful and should be enjoined. He has exercised the authority of the

Director for over a year now, through an unending daisy chain of “temporary”

authorizations. SUF ¶¶ 2–4, 6–8. These authorizations are ostensibly motivated by

a desire to fill the vacancy “during the Presidential transition pending Senate-

confirmation of [a] new [Director].” Id. But that period of transition has come and

gone, and the President’s term is nearly over. No nomination was forthcoming from

this Administration until the summer of the last year of that term—and now the

nominee has been withdrawn in the face of strong public opposition. There can be

no serious doubt as to the real purpose of these purportedly “temporary”

authorizations: to prevent the Senate from performing its constitutionally mandated

role in the appointment process.

      Thus, even if the text of the FVRA could somehow be twisted to allow for

Pendley’s indefinite leadership over a federal agency without Senate confirmation,

the Constitution cannot be likewise twisted. It is unconstitutional for the Executive

Branch to string together a series of temporary appointments into a single


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appointment that lasts so long as to be permanent. Were it otherwise, the President

could sidestep, for political expediency or any other reason, the Senate’s

constitutional role in the appointment process. He could effectively transform any

office that requires Senate confirmation into one that does not. This would nullify

the Appointments Clause. As this case illustrates, a President could do that even for

the entirety of a presidential term, thereby allowing an entire Administration to

bypass this critical constitutional safeguard. The Framers did not intend, and the

Constitution does not permit, such a blatant end-run around the strictures of the

Appointments Clause.

III.   Expedited review is appropriate because of the nature of the
       constitutional violation and the ongoing harm that it causes.

       Finally, the plaintiffs respectfully request that this Court expedite review of this

motion. Expedited review is appropriate for several reasons. First, it is necessary to

vindicate the critical role that the Appointments Clause and the FVRA play in the

constitutional separation of powers. If the President could evade judicial review—by

running out the clock through a series of temporary maneuvers whose legality would

then become tied up in litigation until the end of his term—it would reduce the

Appointments Clause to a triviality. And it would defeat the very purpose of the

FVRA, which anticipates temporary acting service with short time limits. For these

reasons, it is not uncommon for courts to grant expedited briefing in Appointments



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Clause challenges, and this Court should do the same here. See, e.g., Guedes v. Bureau

of Alcohol, Tobacco, Firearms & Explosives, 920 F.3d 1, 10 (D.C. Cir. 2019).

      Second, the motion raises a discrete, purely legal question that does not require

extensive briefing to resolve. Third, as noted above, Pendley’s continued service as

acting director—and the uncertain status of the actions taken by the Bureau under

his unlawful leadership—is causing the State of Montana ongoing harm. Speedy

resolution of this motion will put a stop to the State’s ongoing harm, saving the State

time, money, and resources, and allowing it to better plan its land-management

activities and fish, wildlife, and conservation efforts in the remaining months of 2020

and beyond.

                                   CONCLUSION

      This Court should grant summary judgment. The Court should declare

William Perry Pendley’s continued service as acting director of the Bureau of Land

Management to be unconstitutional and should enjoin him from taking any further

action over Montana in that unlawful role. Because of the ongoing nature of the

harm and the particularly egregious nature of the constitutional violation, the

plaintiffs request expedited briefing and review of their motion.


                                         Respectfully submitted,
                                         /s/ Deepak Gupta
                                         DEEPAK GUPTA*
                                         JONATHAN E. TAYLOR

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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 20, 2020, I electronically filed this brief in

support of the plaintiffs’ motion for summary judgment through this Court’s

CM/ECF system. I understand that notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.

                                        /s/ Deepak Gupta
                                        Deepak Gupta
